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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11     SYLVESTER OWINO, JONATHAN                          Case No.: 3:17-cv-1112-JLS-NLS
       GOMEZ, on behalf of themselves, and all
12
       other similarly situated,                          ORDER ON PROPOSED CLASS
13                                       Plaintiff,       NOTICES
14     v.
15
       CORECIVIC, INC., a Maryland
16     corporation,
17                                    Defendant.
18
       AND RELATED CROSS ACTION
19
20
21          On September 9, 2020, the Court held a status conference on Plaintiff’s proposed
22    class notices and class plan. ECF No. 197; see ECF Nos. 198, 199. As discussed during
23    the conference, the Court hereby issues this order, ruling upon Defendant’s objections to
24    the class notices and finalizing the Long Form Class Notice and Short Form Class Notice.
25
            To facilitate the discussion below, the classes are defined as follows:
26
            1) National Forced Labor Class: All ICE detainees who (i) were detained at a
27             CoreCivic facility between December 23, 2008 and the present, (ii) cleaned areas
28             of the facilities above and beyond the personal housekeeping tasks enumerated

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 1               in the ICE Performance-Based National Detention Standards (“PBNDS”), and
                 (iii) performed such work under threat of discipline irrespective of whether the
 2
                 work was paid or unpaid;
 3
            2) California Forced Labor Class: All ICE detainees who (i) were detained at a
 4             CoreCivic facility located in California between January 1, 2006 and the present,
 5             (ii) cleaned areas of the facilities above and beyond the personal housekeeping
               tasks enumerated in the ICE PBNDS, and (iii) performed such work under threat
 6             of discipline irrespective of whether the work was paid or unpaid; and
 7
            3) California Labor Law Class: All ICE detainees who (i) were detained at a
 8             CoreCivic facility located in California between May 31, 2013 and the present,
               and (ii) worked through CoreCivic’s Voluntary Work Program (“VWP”) during
 9
               their period of detention in California.
10
11    See ECF Nos. 179 at 59; 84-1 at 18-19.

12          General Objections to Class Notices
13          Defendant makes the following general objections to the class notices:
14
            1.      Defendant objects that the notices define the classes beyond what the Court
15
      certified. ECF No. 199 at 2. Specifically, Defendant argues that the National and
16
      California Forced Labor Class definitions are too broad and should be limited to those
17
      forced to clean in common living areas. Defendant also argues that the California Forced
18
      Labor Class period should begin on May 31, 2010. The Court understands that these two
19
      issues have been raised to the Court in Defendant’s pending Motion for Reconsideration
20
      of the class certification. See ECF No. 181. However, until there is any modification made
21
      to the class certification order, the Court finds that these limitations are not part of the
22
      current class definitions. These two objections are overruled, subject to renewal if the
23
      Motion for Reconsideration is granted and the class definitions modified.
24
            2.      Defendant objects that the three classes are not treated as distinct in the
25
      notices. ECF No. 199 at 2-3. The Court sustains this objection and modifies the class
26
      notices to identify and name the three distinct classes.
27
28          3.      Defendant objects that the notices do not inform class members about

                                                    2
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 1    Defendant’s counterclaims. ECF No. 199 at 3. The Court sustains in part this objection
 2    and modifies the class notices to include mention of the offset for the California Labor Law
 3    Class.
 4
               4.    Defendant objects to the mentions throughout the class notices that class
 5
      members will not be retaliated against as prejudicial. ECF No. 199 at 3. The Court
 6
      sustains in part this objection and modifies the class notices to mention retaliation only
 7
      once in each notice.
 8
 9             5.    Defendant objects to the mentions throughout the class notices of the

10    possibility of settlement. ECF No. 199 at 3. The Court generally agrees that settlement
      should be mentioned but not excessively. Thus, the Court sustains in part this objection
11
      and will rule on the individual references to settlement below.
12
13             6.    Defendant objects that the notices fail to inform class members of three other
14    pending class action lawsuits. ECF No. 199 at 3. The Court overrules this objection.
15             7.    Defendant objects to the short form summary notice as too cursory. ECF No.
16    199 at 3-4. The Court overrules this objection.
17
               8.    Defendant objects that Plaintiffs have not provided either form in Spanish.
18
      ECF No. 199 at 4. The Court agrees that Plaintiff should provide certified translations of
19
      the class notices in Spanish, using a court certified interpreter. Plaintiffs shall provide these
20
      translations and file them within 21 days of this order.
21
               Specific Objections to Long Form Class Notice
22
23             Defendant makes the following specific objections to the Long Form Class Notice:
24             Summary page: Defendant objects to the scope of the class definitions and class
25    period for the California Forced Labor Class. ECF No. 199 at 4. These objections are
26    overruled, consistent with above. Defendant also objects to references to retaliation and
27    settlement. These objections are overruled as to this instance, as this is the first mention
28    of either in this long form notice. Defendant also objects to the statement that class member

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 1    information is confidential because the notice does not qualify the statement with discovery
 2    requirements. The Court sustains this objection and modifies the class notice summary to
 3    clarify that information about class members will be confidential subject to what is
 4    permitted under the Federal Rules of Civil Procedure and by court order.
 5
            Index: Defendant objects to the order of certain questions. ECF No. 199 at 4. These
 6
      objections are overruled.
 7
 8          Question 1: Defendant objects to mentions of confidential and retaliation in this

 9    question. ECF No. 199 at 4. These objections are sustained and such references are

10    removed.

11          Question 2: Defendant objects that the scope of the class is too broad. ECF No. 199
12    at 4-5. Consistent with above, this objection is overruled. Defendant also objects that this
13    question fails to mention CoreCivic’s counterclaims. These objections is overruled as to
14    this instance. The Court finds that the more appropriate place to mention this is in
15    Question 5.
16          Question 5: Defendant objects to the scope of the class definition as to the forced
17    labor classes. ECF No. 199 at 5. Consistent with above, this objection is overruled.
18    Defendant also objects to this question not mentioning its counterclaims. Consistent with
19    above, the Court sustains in part this objection and modifies this question to include
20    mention of the offset for the California Labor Law Class.
21
            Question 6: Defendant objects that this question does not include reference to its
22
      counterclaim. ECF No. 199 at 5. The Court sustains this objection and modifies this
23
      question to include mention of Defendant’s counterclaim.
24
            Question 8: Defendant objects to the scope of the class and the class period of the
25
      California Forced Labor Class. ECF No. 199 at 5. Consistent with above, this objection
26
      is overruled.
27
28          Question 9: Defendant objects to this question as not accurately defining who is not

                                                   4
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 1    included in the lawsuit. ECF No. 199 at 5. The Court sustains this objection and modifies
 2    this question to more directly and accurate reflect who is not included in this lawsuit.
 3
            Question 12: Defendant objects to this question because it does not mention its
 4
      counterclaim. ECF No. 199 at 5. The Court sustains this objection and modifies this
 5
      question to mention the offset for the California Labor Law class. Defendant also objects
 6
      to the mention of retaliation in this question. The Court sustains this objection and
 7
      removes the reference. The Court also modifies this question to add that class members
 8
      will not have to pay Defendant money regardless of the outcome of the case.
 9
10          Question 13: Defendant argues acceptance of the Exclusion Request Form should
      be based on the date it was postmarked and that the opt-out period should be 120 days
11
      rather than 60. ECF No. 199 at 6. The Court sustains in part this objection and modifies
12
      this question to use the postmark date and the opt-out period to be 90 days.
13
14          Question 14:     Defendant objects to mention of settlement in this question. The
15    Court sustains in part this objection and modifies the question to replace the word
16    settlement with resolution.1
17          Question 15: Defendant objects to this question which deals with retaliation. ECF
18    No. 199 at 6. The Court sustains this objection and removes this question.
19
            The form and content of the Long Form Notice to be mailed to the class members
20
      shall be substantially in the form attached as Attachment A to this Order.
21
            Specific Objections to Short Form Class Notice
22
            Defendant’s objections to the short notice form primarily focus on the issues
23
24
      1
25     The Court notes that settlement is also mentioned in Questions 12 and 13. Defendant
      did not specifically object to those instances so the Court will not remove them.
26    Furthermore, each reference to settlement in those questions relate to what a class
27    member is bound by if they remain in the class and because they would be part of and
      bound by a settlement, the Court finds references to settlement to be appropriate for those
28    questions.
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 1    discussed above as to the scope of the Forced Labor Classes and the class period for the
 2    California Forced Labor Class. Consistent with above, these objections are overruled.
 3
            The form and content of the Short Form Notice to be published in print and digitally
 4
      shall be substantially in the form attached as Attachment B to this Order.
 5
 6          Objections to Class Notice Plan

 7          Defendant’s primary objection to the Class Notice Plan is that Plaintiffs have not
 8    provided the actual content of the notices that will be published in various formats
 9    (including television, radio, social media, online advertising, and website). ECF No. 199
10    at 6. The Court agrees that Plaintiff must provide the actual content of these notices so that
11    they may be evaluated by Defendant and the Court. Accordingly, within 21 days of this
12    order, Plaintiff must provide the proposed content for the class notices that will be
13    distributed in each media format contemplated in the Class Notice Plan in English to the
14    Court and Defendant. Within 7 days of Plaintiff providing the content, Defendant shall
15    file their objections. The Court will then take the matter under submission.
16          Defendant objects to the internet search terms that will be utilized to display ads on
17    Google search result pages as too broad. Plaintiffs only provided some “representative key
18    terms” in its submission, not a finalized list of search terms. Thus, along with the proposed
19    content for the internet ads that must be provided within 21 days, Plaintiffs must also
20    provide the proposed finalized list of search terms that will trigger the internet ads within
21    21 days of this order. Defendant shall include any objections to the search terms in their
22    filing within 7 days of Plaintiffs’ submission.
23
            Defendant also objects that Plaintiffs’ direct mail plan only proposes a query of the
24
      United States Postal Service database as to any changes of address but does not propose
25
      anything for foreign addresses for class members. ECF No. 199 at 7. The Court overrules
26
      this objection.
27
            Because of the above supplemental requirements, the Court defers ruling on
28

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 1    Plaintiffs’ Class Notice Plan until those supplements are made.
 2          IT IS SO ORDERED.
 3    Dated: September 15, 2020
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                        ATTACHMENT A
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           UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF CALIFORNIA

        If you were detained at a CoreCivic, Inc. facility
         (formerly Corrections Corporation of America)
     in the United States, a lawsuit may affect your rights
                 A court authorized this notice. This is not a solicitation from a lawyer.

           YOUR INFORMATION WILL BE KEPT CONFIDENTIAL EXCEPT AS ALLOWED UNDER THE
                     FEDERAL RULES OF CIVIL PROCEDURE OR BY COURT ORDER
             NO ONE WILL RETALIATE AGAINST YOU FOR PARTICIPATING IN THIS LAWSUIT

•   There is a class action lawsuit in the United States District Court for the Southern District of
    California that alleges that CoreCivic, Inc. (formerly called Corrections Corporation of America):
    (1) Forced detainees to clean areas of the facility outside of their personal living area under
        threat of punishment, and
    (2) Did not pay minimum wage, did not provide wage statements, did not pay earned
        compensation upon termination, and imposed unlawful terms and conditions of
        employment to detainees who were detained in a California facility and who participated in
        the Voluntary Work Program.

•   CoreCivic denies the allegations in the lawsuit and denies that it did anything wrong.

•   You are included in the lawsuit if you fall into any of these categories:
    (1) National Forced Labor Class: You were detained at any CoreCivic facility in the United States
        any time between December 23, 2008 and the present and were coerced or forced to clean
        areas of the facility outside of your personal living area under threat of punishment.
    (2) California Forced Labor Class: You were detained at any CoreCivic facility in California any
        time between January 1, 2006 and the present and were coerced or forced to clean areas of
        the facility outside of your personal living area under threat of punishment.
    (3) California Labor Law Class: You were detained at any CoreCivic facility in California any time
        between May 31, 2013 and the present and participated in the Voluntary Work Program.

•   The lawsuit has not been decided yet. If the lawsuit is decided in favor of detainees, or there is a
    settlement, you may be eligible to receive money. See Question 6 for more detail.

               Your legal rights may be affected, and you have a choice to make now.
                                     Read this Notice carefully.




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                                YOUR LEGAL RIGHTS & OPTIONS IN THIS LAWSUIT
 DO NOTHING             Stay in this lawsuit. Bound by the outcome. Give up your right to sue on your
                        own behalf.
 ASK TO BE              Get out of the lawsuit. Not bound by the outcome. Keep your right to sue on
 EXCLUDED               your own behalf.
                        You must submit the attached Exclusion Request Form by Month 00, 2020.




                                                WHAT IS IN THIS NOTICE

INFORMATION ABOUT THE LAWSUIT ..................................................................................... Page 3
1.   Why are you receiving this Notice?
2.   What is the lawsuit about?
3.   Why is this a class action lawsuit?
4.   What are the Plaintiffs asking for?
5.   What does the Defendant say about this lawsuit?
6.   Has the Court decided who is right?
7.   Is there any money available now?

WHO IS INCLUDED IN THE LAWSUIT ....................................................................................... Page 4
8.    Who is included in this lawsuit?
9.    Who is not included in the lawsuit?
10.   Do I need a lawyer?
11.   How do I participate in the lawsuit?
12.   What happens if I am a Class Member in the lawsuit?

EXCLUDE YOURSELF FROM THE LAWSUIT ............................................................................... Page 6
13.   Can I get out, or exclude myself from the lawsuit?
14.   What happens if I exclude myself from the class action?
15.   Can anyone retaliate against me for participating or excluding myself?

ADDITIONAL INFORMATION .................................................................................................. Page 6
16.   How can I get more information?


EXCLUSION REQUEST FORM .................................................................................................. Page 8


                                                                                                                               2
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                             INFORMATION ABOUT THE LAWSUIT

1.     Why are you receiving this Notice?
You are receiving this notice because records indicate that you were detained in the custody of the
U.S. Immigration and Customs Enforcement (“ICE”) at a facility operated by CoreCivic, Inc.
(“CoreCivic”). CoreCivic was formerly known as Corrections Corporation of America.

Similarly situated detainees have filed a class action lawsuit against CoreCivic, and that lawsuit
affects your right to sue and any recovery that you may be entitled to receive.

2.     What is this lawsuit about?
A lawsuit against CoreCivic has been certified as a class action in the U.S. District Court for the
Southern District of California. The lawsuit is known as Owino, et al. v. CoreCivic, Inc., No. 3:17-cv-
1112-JLS-NLS.

This lawsuit alleges that CoreCivic violated the Federal Trafficking Victims Protection Act (“TVPA”) by
coercing and forcing detainees to clean the facilities above and beyond personal housekeeping tasks
listed in ICE’s Performance Based National Detention Standards under threat of punishment. Areas
that detainees were coerced and forced to clean include common living and recreational areas,
bathrooms, showers, the cafeteria, offices, and the kitchen, regardless of whether detainees were
paid for their work.

For detainees in California, the lawsuit alleges that CoreCivic violated the California Trafficking Victims
Protection Act (“CATVPA”), in addition to the TVPA.

For participants in the Voluntary Work Program in California, the lawsuit also alleges that CoreCivic
violated California law by not paying detainees the minimum wage required under California law, by
not providing wage statements, by not paying wages upon termination, and by imposing unlawful
conditions of employment.

3.      What is a class action lawsuit?
In a class action lawsuit, one or more people called “Class Representatives” (in this case Sylvester
Owino and/or Jonathan Gomez) sue on behalf of other people (you) who have similar claims. The
people together are a “Class” or “Class Members.” The people who sued—and all the Class Members
like them—are called the Plaintiffs. The company they sued (in this case CoreCivic) is called the
Defendant. One court resolves the claims for all Class Members.

4.      What are the Plaintiffs asking for?
The Plaintiffs are asking for money damages and restitution allowed under California and Federal
law, as well as attorney’s fees and costs incurred in connection with the lawsuit.




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5.      What does the Defendant say about this lawsuit?
CoreCivic denies that it did anything wrong, and contends that it did not coerce or force detainees to
clean areas of the facility outside of their personal living area under threat of punishment and did not
violate Federal or California law.

CoreCivic also denies that it violated California law with respect to participants in the Voluntary Work
Program in its California facilities and seeks an offset of any owed wages or damages by the amount
it cost to house detainees and operate the Voluntary Work Program.

6.      Has the Court decided who is right?
No. By establishing the Class and issuing this Notice, the Court is not suggesting that the Plaintiffs will
win or lose this case. The Plaintiffs must prove their claims at a trial and CoreCivic must prove its
counterclaim at trial.

7.     Is there any money available now?
No. There is no guarantee that money or benefits ever will be awarded. If any money or benefits are
awarded, you will be notified about next steps.

                                  WHO IS INCLUDED IN THE LAWSUIT

8.     Who is included in this lawsuit?
You are included in this lawsuit IF you were a detainee in the custody of ICE and fall into one of these
3 categories:
   (1) You were detained at any CoreCivic facility in the United States any time between December
       23, 2008 and the present, AND you were forced or coerced to clean areas of the facility
       outside of your personal living area under threat of punishment. You are included even if you
       got paid for this work.

   (2) You were detained at the one of these CoreCivic facilities in California:
           1. Otay Mesa Detention Center in Otay Mesa, California
           2. San Diego Correctional Facility in Otay Mesa, California
           3. California City Correctional Facility in California City, California
       Any time between January 1, 2006 and the present, AND you were forced or coerced to clean
       areas of the facility outside of your personal living area under threat of punishment. You are
       included even if you got paid for this work.

   (3) You were detained at any CoreCivic facility in California listed above any time between May
       31, 2013 and the present, AND you participated in the Voluntary Work Program.




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9.      Who is not included in the lawsuit?
If you were NOT detained at a CoreCivic facility in the United States during the time periods in
Question 8 above, you are NOT included in this lawsuit.

If you did NOT clean areas of the facility outside of your personal living area under threat of
punishment, you are NOT a member of the National Forced Labor Class or California Forced Labor
Class.

If you were NOT a participant in the Voluntary Work Program in California, you are NOT a member of
the California Labor Law Class.

If you are not a member of ANY class, you are NOT included in this lawsuit.

10.     Do I have a lawyer representing me?
Yes. The Court has approved Sylvester Owino and Jonathan Gomez to serve as the Class
Representatives. The Court also decided that the law firms Foley & Lardner LLP, and the Law Office of
Robert L. Teel, are qualified to represent all Class Members. Together the law firms are called “Class
Counsel.” They are experienced in handling similar cases. You will not be responsible to pay for costs
or fees for Class Counsel.

More information about these law firms, their practices, and their lawyers’ experience is available at
https://www.foley.com and https://universaljustice.org.

You may also enter an appearance through your own attorney, but at your own expense.

11.     How do I participate in the lawsuit?
If you would like to be a Class Member in this class action lawsuit, you do not need to do anything.
Doing nothing means you will automatically be part of the Class. The Class Representatives and Class
Counsel will represent your interests in the lawsuit. If any decisions are made or money or benefits
awarded, you will be notified on what you need to do next.

12.      What happens if I am a Class Member in the lawsuit?
As a Class Member in this class action, you will have to follow and comply with any court decision in
the case, whether favorable or unfavorable. You will be bound by any settlement or judgment
entered in this lawsuit, including any damages award. Any damages award may be reduced to pay
the costs and fees of Class Counsel, and if you are a member of the California Labor Law class, any
offset if CoreCivic prevails on its counterclaim. Regardless of the outcome of the case, you will not
have to pay money to CoreCivic by electing to be a class member in this case.

If you elect to remain as a Class Member, you will also lose any right to pursue similar claims for this
time period on your own behalf, and you will not be able to file another lawsuit raising similar claims.


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                               EXCLUDE YOURSELF FROM THE LAWSUIT

13.      Can I exclude myself from the Lawsuit?
Yes. If you do not want to be included in this lawsuit, you can ask to be excluded. If you exclude
yourself, you will not be part of any settlement or judgment in the lawsuit. You will retain your right
to pursue similar claims for this time period on your own behalf.

To exclude yourself, you must submit an Exclusion Request Form, which is attached at the end of this
notice. Your Exclusion Request Form must be postmarked no later than [90 days from the date of
postmark].

The Exclusion Request Form is attached at the end of this Notice. It is also available at
www.websiteURL.com. You can also prepare your own exclusion request, but your request must be
in writing.

Your Exclusion Request Form must be sent to the Notice Administrator by:
(1) Mail:
    CoreCivic Litigation
    PO Box 0000
    City, ST 00000
(2) Email: [insert email]
(3) Fax: 000-000-0000

Exclusion requests must be postmarked no later than Month 00, 2020.

14.     What happens if I exclude myself from the class action?
If you exclude yourself from the lawsuit, you will not be bound by any decision, judgment or
settlement in the case and will not receive any owed wages or damages in this lawsuit if Plaintiffs
prove their claims. You also keep your rights to sue CoreCivic on your own.

                                     ADDITIONAL INFORMATION

15.     How can I get more information?
You can get more information about the class action lawsuit on the website at
www.websiteURL.com. Important information about the lawsuit including the Court’s Order
Certifying the Class, the Complaint that the Plaintiffs submitted, the Defendant’s Answer to the
Complaint and Counterclaims, as well as an Exclusion Request Form are all available on the website

You may also speak to one of the lawyers by calling [telephone].

You can also write to: Owino v. CoreCivic, Inc. Class Action, [address].
                                                                                                          6
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You may also contact the Notice Administrator at: [insert website and email and phone number]

You may also seek the advice of your own attorney if you desire.


                        DO NOT CONTACT THE COURT FOR INFORMATION




                                                                                                7
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                               EXCLUSION REQUEST FORM
Please carefully read the attached Notice of Class Action before filling out this form.

DO NOT FILL OUT THE FORM IF YOU WANT TO REMAIN PART OF THE CASE

If you want to exclude yourself from the Class, please sign and date this form and send it to Class
Counsel on or before [90 days from the date of mailing].

Your Exclusion Request Form must be sent to the Notice Administrator by mail, email, fax, or other
delivery method on or before [90 days from the date of mailing], to:

   Mail:
   CoreCivic Litigation
   PO Box 0000
   City, ST 00000
   Email: [insert email]
   Fax: 000-000-0000

 I want to be excluded from the class that has been certified in the case of Owino, et al. v. CoreCivic,
 Inc., No. 3:17-cv-1112-JLS-NLS, U.S. District Court for the Southern District of California.


          PRINT NAME:

          SIGNATURE:

          ADDRESS:




          PHONE:

          EMAIL:

          DATED:



                                                                                                           8
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                        ATTACHMENT B
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  Were you detained at a CoreCivic, Inc. facility in the
                   United States?

              A class action law suit m ay affect your rights.

  What is this lawsuit about?
  This lawsuit alleges that CoreCivic, Inc. (“CoreCivic”), formerly called Corrections Corporation
  of America, (1) coerced and forced detainees in its facilities to clean areas of the facilities
  outside of their personal living area under threat of punishment, and (2) did not pay minimum
  wage, did not provide wage statements, did not pay earned compensation upon termination,
  and imposed unlawful terms and conditions of employment to detainees who were detained in
  a California facility and who participated in the Voluntary Work Program. Corecivic denies
  these allegations and has asserted affirmative counterclaims.

  Who is included?
  You are included in this lawsuit if you were detained at a CoreCivic facility while in the custody
  of the U.S. Immigration and Customs Enforcement (“ICE”) and fall into any of these 3 categories:
  (1) You were detained at any CoreCivic facility in the United States any time between
      December 23, 2008 and the present, AND you cleaned areas of the facility outside of your
      personal living area under threat of punishment. You are included even if you got paid for
      this work.

  (2) You were detained at one of these CoreCivic facilities in California: Otay Mesa Detention
      Center in Otay Mesa, CA, the San Diego Correctional Facility in Otay Mesa, CA, or the
      California City Correctional Facility in California City, CA any time between January 1,
      2006 and the present, AND you cleaned areas of the facility outside of your personal living
      area under threat of punishment. You are included even if you got paid for this work.
  (3) You were detained at any CoreCivic facility in California listed above any time between May
      31, 2013 and the present, AND you participated in the Voluntary Work Program.

  You are not included in this lawsuit if you do not fall into any of the 3 categories listed above.


  What are your Options?
  You have choices to make now.
  (1) Do nothing. If you do nothing, you will automatically be included in the lawsuit and you
      give up your right to sue about the claims in this lawsuit. If you stay in the lawsuit, you can
      hire your own attorney at your expense, but you don’t have to. Your participation in this
      lawsuit will be kept confidential except as allowed under the Federal Rules of Civil
      Procedure or by court order and no one can retaliate against you for your participation.
      You will be part of any settlement or judgment in the lawsuit.
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  (2) Ask to be excluded. If you do not want to be included in this lawsuit, you must submit an
      Exclusion Request Form by Month 00, 2020. You can get an Exclusion Request Form
      online at [www.insertwebsite.com], by calling 000-000-0000, or writing to the
      administrator. If you get out of the lawsuit, you will not be part of any settlement or
      judgment in the lawsuit. You keep your right to sue on your own behalf and are not bound
      by the outcome of the lawsuit.

  This is only a summary. For more information visit [www.insertwebsite.com], call 000-000-
  0000 or write to CoreCivic Litigation, Address, City, ST 00000.
